Case 1:15-Cv-24668-KI\/|I\/| Document 1-3 Entered on FLSD Docket 12/18/2015 Page 1 of 9

 

E lN THE CFRCU|T GOURT OF THE ELEVENTH JUDIC|AL CIRCU|T |
N AND FOR MIAMLDADE COUNTY, FLO
m iN THE COUNTY COURT|N AND FGR M{AM|-DADE COUNTY. FL*QR|DA. ‘ mm

 

 

 

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AMERICANS WITH DISABILITIES ACT OF 1990
ADA NOT!CE

“lf you are a fgerson with a disability who needs any accommodation in order to
participate in t is roceeding, iyou are entitled, at no cost to you, to the rovision of
certain assistance. ease contac the Eleventh Judic‘al Circuit Court’s AQA oordinator,
Lawsoo E. Thomas Courthouse Center, 175 NW 1’ Ave., Suite 2702, Mlami, FL 33128,
Telephone (305 349-7175; TDD (305) 349~7174, Fax (305) 349-7355 at least 7 days before
our schedul court a?pcarance, or immediately ull)on receiving this notification if the
°mc before the schcdu ed appearance is las than days; if you are hearing or voice

impaired, call 711.”

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Filing # 34082387 E-Filed 11/09/2015 10;58; 12 AM

FORM 1.997. ClVlL COVER SHEET

The civil cover sheet and the lnforrnation contained herein neither replace nor supplement the filing and service of
pleadings or other papers as required by law. This form shall be filed by the plaintiff or petitioner for the use of the Clerk
of the Court for the purpose of reporting judicial workload data pursuant to l-`lorida Statutes section 25.075.

 

|. CASE STYLE

lN THE ClRCU|T COURT OF THE ELEVEN'I`H JUD|C|AL ClRCU|T,
lN AND FOR MlAMI-DADE COUNTY, FLORIDA

Elda C Castro, Osiris Catalina Garcia
Plaintifl
vs

Case No.:
Judge:

El Atlakat itcstaulant Corp. Mario Chave;ulosc P Chavez, Jose Chavcz Jr

Defendant

 

|l. TYPE OF CASE

§ Condominium

Q_ Contracts and indebtedness

_C_] Eminent domain

§ Auto negligence

_[Q Negligence - other

Business governance

Business torts

Environmentall`l'oxic tort

Third party indemnification

Construction defect

Mass tort

Neg|igenl security

Nursing horne negligence

Premises liability - commercial

_ Premises liability - residential

Products liability

Real Property/Mortgage foreclosure

Commercial foreclosure $O - $50.000
Commercial foreclosure $50.001 - $249,999
Commercial foreclosure $250,000 or more
Hornestead residential foreclosure $0 - 50,000
Homestead residential foreclosure $50.001 -
$249,999

Homestead residential foreclosure $250,000 or
more

Non-homestead residential foreclosure $O -
$50.000

Non-homestead residential foreclosure $50,001
- 5249.999

lion-homestead residential foreclosure $250, 00
or more

Olher real property actions $O - $50.000

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Other real property actions $50.001 - $249.999
Other real property actions 5250.000 or more

Professiona| malpractice

QJ_ Malpractice _ business
Malpractice - medical
Ma|practice - other professional

Antitnist!Trade Regulation
Business Transactlon
Circuit Civil - Not Applicable

Constitutiona| challenge-statute or
ordinance

Constitutiona| challenge-proposed
amendment

Corporate Trusts
Discrimination-employment or other
insurance claims

intellectual property

LibelISlander

Shareholder derivative action
Securities litigation

Trade secrets

Tmst litigation

O
lolc:iimlmimuiuloin lo imioloio§ii:no

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COMPLEX BUSINESS COURT

This action is appropriate for assignment to Complex Business Court as delineated and mandated
by the Admlnistrative Order. Yes g No §

lll. REMED|ES SOUGHT (check all that apply):
Monetary;

Non-monetary

Non~monetery declaratory or injunctive relief“,
Punitive

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rv. NuMeER or-' cAusEs oF AchoN: t l
lSpecifyl

Z
V. lS TH|S CASE A CLASS ACT|ON LAWSU|T?
_l;l_ Yes
§ No

Vl. HAS NOT!CE OF ANY KNOWN RELATED CASE BEEN FfLED?
§ No

_|_'_l_ Yes - lf ‘yes‘l list all related cases by name, case number and court

Vll. lS JURY TRlAL DEMANDED lN COMPLA|NT?
Yes
No

iCl l®

 

l CERT|FY that the lnfonnation l have provided in this cover sheet is accurate to the best of my knowledge

and belief.
Signature s/ Paul F. Pcnichct Fl_ Bar No.: 899380
Attomey or party (Bar number. if attomey)
Paul F. Pcnichet 1 1/09/2015

(Type or print name) Date

Cas_e 1:15-Cv-24668-Kl\/ll\/l Document 1-3 Entered on FLSD Docl<et 12/18/2015 Page 4 of 9

?iling # 34082387 E-Filed 11/04/2015 04:50:42 PM

IN THE ClRCUIT COURT OF THE ELEVENTH J'UDIC!AL CIRCUI'I`
l'N AND FOR MlAMI-DADE COUNTY, FLOR_IDA

CASE NO.

HILDA C. CASTRO, and
OSIRIS CATALINA GARCIA.

Plainiiff,
v.

EL ATLAKAT RESTAURANT CORP., a
Florida corporation, MAR.IO CHAVEZ,
rose P. CHAsz, AND rose cHAsz, m.

Det'endants.

 

COMPLAINT

Plaintiffs, I-I.ilda C. Castro and Os'm`s Cacalina Garcia, sue defendants, El Atiakat
Rescaurant Corp., Mario Chavcz, José P. Chavcz, and José Chavez, Jr., and they say:
INTRODUCTION
1. Plaintili`s, Hiida C. Castro and Osiris Catalina Garcia, bring this action
against their fortner employers El At]alcat Restaurant Corp., Mario Chavez, José P.
Chavez, and José Chavez, .Ir., (hereinat`ter collectively referred to as "Defendants"), to
recover unpaid Florida minimum wages, unpaid overtime compensation, prejudgment
interest, liquidated damages, attorney‘s fees and costs.
JURISDIC’I'ION

2. This is an action for damages in excess of $15,000.00.

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THE PARTIES

3. Plai.ntiff, Hilda C. Castro, is a resident of Miami-Dade County, Flon`da and is

over eighteen years old.

4. Plainb`ff, Os`tris Catalina Garcia, is a resident of Miami-Dadc County, Floricla
and is over eighteen years old.

5. Casno was employed by Defendants as a waitress from 1999 to December 19,
2014.

6. Garcia was employed by Dcfendanls as a waitress from about November,
2011 to December 20, 2014.

7. Defendant, El Atlakat Restaurant Corp., is a company incorporated under thc
laws of Florida, and has its principal place of business in Miami-Dade County, Florida.

8. At all times relevant to this action, El Ar.lakat Restaurant Corp. has had an
annual gross volume of sales or business done not less than $500,000 and has engaged in
commerce or in the production of goods for commerce, or has had two or more employees
handling or working on goods or materials that have been moved in or produced for
commerce

9. Upon information and belief, defendant. Mario Chavez, is a resident of
Miami-Dade County, Florida, and he is the president and Director or El At.lakat Restaurant
Corp.

10. Mario Chavez, at all times material to this action, acted directly or indirectly

in the interest of the defendant corporation in relation to one or more employees; therefore

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he is an employer within the meaning of the Florida Minimum Wage Act and the Fair
Labor Standards Act.

11. Upon information and belief, defendant, José P. Chavez, is a resident of
Miami-Dade County, Florida, and he is the Secretary, Treasurer and Director or El Atlakat
Rcstaurant Corp.

12. At all times material to this action, José P. Chavez acted directly or indirectly
in the interest of the defendant corporation in relation to one or more employees; therefore

he is an employer within the meaning of the Florida Minimum Wage Act and the Fair

Labor Standards Act.

13. Upon information and belief, defendant José Chavez, Jr. is a resident of
Miami-Dade County, Florida, and he manages El Atlakat Restaurant.

14. At all times material to this action, José Chavez, Jr. acted directly or
indirectly in the interest of the defenth corporation in relation to one or more employees;
therefore he is an employer within the meaning of the Flocida Minimum Wage Act and the
Fair Labor Standards Act.

COU'NT 1
VIOLATION OF THE FLORIDA M]NMM WAGE ACT

15. Plaintiffs reallege paragraphs l through 14 as if fully set forth herein.

16. The plaintiffs have complied with all conditions precedent to bringing this
action for unpaid Florida minimum wages under §448.110, Fla. Stat. (hcreinafter referred
to as "FMWA").

17. Plaintiffs were employed by Dcfendants as waitresses.

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18. Florida has two hourly minimum wages; i.e., the full Flon`da hourly
minimum wage which changes each year, and a lower tipped employee minimum wage.

19. In Florida, an employer my pay the lower tipped employee minimum wage
only when it meets all of the requirements for taking a tip credit of no more than $3.02.

20. Defendants paid part of the Plaintili`s' compensation in a paycheck at the
tipped employee rate of pay, and then paid them an additional sixty ($60) dollars in cash
each week. The combination of the two forms of payment to the plaintiffs for all the hours
they worked, caused the Defendants to take a tip credit greater than $3.02 in violation of the

FMWA.

21. When an employer takes a tip credit greater than allowed by law, then it owes
its tipped employees the difference between the actual hourly rate earned and the full
Florida minimum wage for every hour the employee worked under those circumstances

22. Defcndants willfully failed to pay Plaintitfs the Florida minimum wage.

23. Defendants also failed to notify Plaintiff of the tip credit as required by law,
including that they failed to display any poster or other written material explaining the tip
credit to their employees, including the plaintiffs

24. Defendanls remain owing Plaintiffs unpaid minimum wages for up to five
years prior to the date this action was filed, plus an additional equal amount of unpaid

minimum wages as liquidated damagcs.
COUNT 2
VIOLATION OF THE OVER'I`]ME PAY PROV`ISION OF THE FLSA
25. Plaintifi"s reallege paragraphs l through 14 as if fully set forth herein

26. During the time that Defendants employed the Plainciffs, Defendams willfully

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employed each plaintiff for many workweeks longer than 40 hours, and failed and refused to
compensate each plaintiff for such work in excess of 40 hours at rates not less than one and
one-half times the regular rates at which each plaintiff was employed, contrary to the
provisions of Section 7(a) of the FLSA.

27. Defendanls failed to keep proper time records as required under the FLSA.

28. As a result of the under payments of overtime compensation alleged above,
Defendants are indebted to Plaintiffs in the amount of the unpaid overtime compensation,
prejudgment interest and an additional equal amount as liquidated damages

29. Defendants willfully and intentionally failed to pay Plaintiff the statutory
overtime rate as required by the FLSA, and they remain owing each Plaintiff back wages
and liquidated damages for up to three years prior to the date this Complaint was filed

REL[EF SOUGH'F

WHEREFORE, each plaintiff demands judgment awarding her all such legal

and/ equitable relief that will effectuate the purpose of the FMWA and the FLSA including

but not limited to the following:

a. Unpaid Flon`da minimum wages;

b. Liquidated damages in an amount equal to the of unpaid Florid minimum
wages;

c. Unpaid overtime compensation;

d. Liquidated damages in an amount equal to the of unpaid Overtime
compensation;
e. Prejudgment interest;

f. Attomey fees pursuant to the FLSA and the FMWA.

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e. Court costs, witness fees and other miscellaneous costs of the litigation
pursuant to the FLSA and the FMWA; and
f. Any other relief that this court finds will reasonable under the circumstances

JURY QEMAI§_D
30. Plaintiffs demand trial by jury.

Respectfully submitted

PENICHET LAW
Counsel for the plaintiff
9655 South Dixie Highway
Suite 310

Miami, FL 33156

Tel: (305) 373~8809

Fax; (305) 373-saw
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